             Case 2:20-bk-10181-VZ            Doc 11-1 Filed 01/13/20 Entered 01/13/20 15:49:12   Desc
                                             Supplement Declaration Page 1 of 3




             1
                       Lane M. Nussbaum, SBN 264200
                                 N USSBAUM APC
             2            27489 AGOURA ROAD, STE 102
                           AGOURA HILLS, CALIFORNIA 91301
             3     Tel.    (818) 660-1919        Fax.   (818)

             4

             5
                 Attorneys for Movant Rexford Industrial Realty, L.P. (Tarzana)
             6

             7

             8                                   UNITED STATES BANKRUPTCY COURT
             9                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
   g        10
    91




   <{ -
                 In re: REEFTON, LLC                               Case No.: 2:20-bk-10181-VZ
   ��
   ��
      11
    :! <O
(.):Ca:,                                                           SUPPLEMENTAL DECLARATION OF
a.��
<( oe
      12                                                           LANE NUSSBAUM IN SUPPORT OF
:E��                              Debtor(s),                       MOTION FOR RELIEF FROM THE
:::,<'iu.
<(�
            }3                                                     AUTOMATIC STAY
a1w�
cnln� 14
��g
z�'.£.
  �;;,-
      � 15
    0.J
    C>W
   :! .... 16
    2748




            17
            18
            19
            20
            21
            22
            23
            24
            25
            26
            27
            28
                                                    DECLARATION OF LANE NUSSBAUM
               Case 2:20-bk-10181-VZ          Doc 11-1 Filed 01/13/20 Entered 01/13/20 15:49:12                  Desc
                                             Supplement Declaration Page 2 of 3



               1
              2
               3
               4                                   DECLARATION OF LANE NUSSBAUM

               5                    I, Lane Nussbaum, declare as follows:
               6
               7                   1.       I am an attorney at law, duly licensed to practice before all of the courts of the

               8   State of California, and am counsel for moving party Rexford Industrial Realty, L.P. (Tarzana)

               9   ("Movant") in the unlawful detainer case titled Rexford Industrial Realty, L.P. (Tarzana) v.
    0         10   F A Soliman Management, Inc., et al., case number 19VECV01103 ("UD"). The facts set forth in
     913




    <1:-
    u�
         �    11   this Declaration are made of my own personal knowledge, and if called on to do so, I could and
     ��
     :! (0
(.) :c
a. �a, -
        a)

              12   would testify thereto.
<( oe
   ::,

:1: � �
:::,c--iu..   13                  2.        Reefton, LLC ("Reefton") is a defendant in the above mentioned unlawful
m
<(� O)
      •

Cl)�;;;
Cl) en_ 'T    14   detainer action. Reefton and co-defendant, F A SOLIMAN MANAGMENT, INC ("SOLIMAN")
:::, ��
Z oc~
  O<O

         e 15
     ::,��         were served with an unlawful detainer complaint on August 5, 2019 for the property located at
       w
     0 .J
     C)
    <{ I-
    a)
              16   18310, 18314 Unit 5, 18316 Oxnard Street Tarzana, CA 91356 ("Property"). A true and correct
     274 9




              17   copy of the complaint is attached hereto as Exhibit 1. Defendants filed an answer in the UD on
              18   August 15, 2019.
              19                  3. On September 2, 2019, Co- defendant SOLIMAN filed a Chapter 7 bankruptcy,
              20   case number 1-19-BK-12206-VK. Relief from the automatic stay was granted in Movant's favor
              21   on October 30, 2019. A true and correct copy of the order is attached hereto as Exhibit 2.
              22                   3.       Trial in the UD was originally set for Oct 7, 2019 but had to be continue
              23   numerous times until after the relief from the automatic stay was granted. Trial was eventually set
              24   for November 12, 2019. On Nov 12, 2019 the parties in the UD matter reached a Stipulation
              25   Agreement ("Stipulation"). A true and correct copy of the Stipulation is attached hereto as Exhibit 3.
              26                  4.        Pursuant to the Stipulation Debtor REEFTON, LLC and co-defendant, F A
              27   SOLIMAN MANAGMENT, INC agreed to termination of the lease and to vacate the property on
              28   December 12, 2019.

                                             SUPPLEMENTAL DECLARATION OF LANE NUSSBAUM
            Case 2:20-bk-10181-VZ       Doc 11-1 Filed 01/13/20 Entered 01/13/20 15:49:12               Desc
                                       Supplement Declaration Page 3 of 3



             1
                        5.       Debtor did not vacate the property by this date. Instructions along with the Writ
             2
                 of Possession were sent by my office to the Sheriffs Department for processing the lockout on
             3
                 the Property.
             4
                        6.       On January 10, 2019 my office received notice from the Sheriff's Department that
             5
                 Debtor REETON, LLC filed this bankruptcy case, 2:20-BK-10181-VZ, placing a hold on the
             6
                 execution of the lockout.
             7
                         7.       Based on the facts above, the lease terminated by Stipulation prior to the
             8
                 bankruptcy filing and the new filing in the bankruptcy court by Debtor Reefton, LLC seems
             9
                 to be part of a scheme to delay the processing of the judgment and writ of possession on the
            10
                 subject premises, and to further delay Movant's recovery of possession of the property. Movant
            11
                 seeks in rem relief preventing future filing from further delaying possession of the subject
            12
                 premises of the unlawful detainer action at 18310, 18314 Unit 5, 18316 Oxnard Street
            13
                 Tarzana, CA 91356.
            14

            15
                                        I declare under penalty of perjury under the laws of the United States that
            16
                 the foregoing is true and correct.
            17
                 Dated 01/13/2020                                            _____________________________
            18                                                                     Lane Nussbaum
                                                                                   Attorney for Movant
            19

            20

            21

            22

            23

            24

            25

            26
            27

            28
                                   VERIFICATION TO FORM AND SPECIAL INTERROGATORIES
100227844
